Case 2:05-cr-20079-.]PI\/| Document 20 Filed 06/23/05 Page 1 of 2 Page|D 31

 

 

IN THE UNITED sTATEs DISTRICT COURT "i"‘i"§') "3"‘* »»~ D'C~
FoR THE WESTERN DISTRICT oF TENNESSEE 05 ,UH 2 3 w l , s
wEsTERN DIVISION “' *‘ - * 1 5b
ic;:;'.:'.r ll Qjimng
UNITED sTATEs oF AMERICA, W D Of~“ T‘\i NI».¢~/'r+irs
Plaimiff,
vs. CR. No. 05-20079

DALE SHANE JOHNSON,

Defendant.

 

ORDER GRANTING DEFENDANT’S
MO'I`ION TO CONTINUE REPORT SETTING

 

This cause came on upon the motion of the Defendant to continue the report setting
Scheduled for June 24, 2005 at 9:00 a.ni, For good cause shown, the Court hereby grants the
Defendant’s motion and waives the Defendant and counsel’s presence at this setting.

IT rs so 0RDEREI) this 2251 day OfJune, 2005.

1 QM@@

PHIPPS MCCALLA
ITED STATES DISTRIC'I` JUDGE

 

2 § l' ' :CS
il 0 1pi'.a\

\ 'C@Uie\'@d O\'\ U\B dOCk€iGn€@ lt

l'I'.S dC\CU[Y`\E E'\"\ r § d r

with F\u\e 55 audio

@

E DISTRICT COUR - W'"RNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20079 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Honorable J on McCalla
US DISTRICT COURT

